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                        FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT


          BRANDON HODGES,                           No. 19-16483
                        Plaintiff-Appellee,
                                                       D.C. No.
                          v.                        4:18-cv-01829-
                                                         HSG
          COMCAST CABLE COMMUNICATIONS,
          LLC, a Delaware limited liability
          company,                                  ORDER AND
                        Defendant-Appellant.         AMENDED
                                                      OPINION

               Appeal from the United States District Court
                 for the Northern District of California
             Haywood S. Gilliam, Jr., District Judge, Presiding

                    Argued and Submitted June 1, 2020
                            Portland, Oregon

                        Filed September 10, 2021
                       Amended December 23, 2021

             Before: Marsha S. Berzon, Daniel P. Collins, and
                   Lawrence VanDyke, Circuit Judges.

                                 Order;
                        Opinion by Judge Collins;
                        Dissent by Judge Berzon
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                                   SUMMARY *


                                    Arbitration

             The panel filed (1) an order denying a petition for panel
         rehearing, denying on behalf of the court a petition for
         rehearing en banc, and replacing a dissenting opinion with
         an amended dissent; and (2) an amended dissent.

            In the majority opinion, which remained unchanged, the
         panel reversed the district court’s order denying Comcast
         Cable Communications, LLC’s motion to compel arbitration
         under the Federal Arbitration Act of the claims asserted
         against it by former cable subscriber Brandon Hodges, and
         remanded with instructions to grant the motion.

             Hodges brought a putative class action challenging
         certain of Comcast’s privacy and data-collection practices
         and seeking a variety of monetary and equitable remedies.
         Comcast moved to compel arbitration pursuant to Hodges’
         subscriber agreements. The district court held that, because
         Hodges’ complaint sought “public injunctive relief” as one
         of its requested remedies, the complaint implicated
         California’s McGill rule, under which an arbitration
         provision that waives the right to seek “public injunctive
         relief” in all forums is unenforceable.

            The panel held that the applicability of the McGill rule
         depends upon whether a complaint includes a claim for
         public injunctive relief. Taking into account Blair v. Rent-

             *
               This summary constitutes no part of the opinion of the court. It
         has been prepared by court staff for the convenience of the reader.
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         A-Center, Inc., 928 F.3d 819 (9th Cir. 2019) (holding that
         the Federal Arbitration Act does not preempt the McGill
         rule), the panel held that, under California law, non-waivable
         public injunctive relief is limited to forward-looking
         injunctions that seek to prevent future violations of law for
         the benefit of the general public as a whole, as opposed to a
         particular class of persons, and that do so without the need
         to consider the individual claims of any non-party.
         Declining to rely on Mejia and Maldonado, recent California
         Court of Appeal decisions broadening the McGill rule, the
         panel concluded that these decisions rested on such a patent
         misreading of California law that they would not be followed
         by the California Supreme Court.

             The panel concluded that under the above standard,
         Hodges’ complaint did not seek public injunctive relief.
         Accordingly, the McGill rule was not implicated, and the
         arbitration agreement should have been enforced.

             Dissenting, Judge Berzon wrote that she disagreed with
         the majority’s conclusion, contrary to the court’s precedent
         and to recent decisions of the California Court of Appeal,
         that a forward-looking injunction protecting the privacy
         rights of millions of cable consumers was not “public
         injunctive relief” under California state law.
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                               COUNSEL

         Mark A. Perry (argued) and Joshua M. Wesneski, Gibson
         Dunn & Crutcher LLP, Washington, D.C.; Michael W.
         McTigue Jr., Meredith C. Slawe, and Seamus C. Duffy, Akin
         Gump Strauss Hauer & Feld LLP, Philadelphia,
         Pennsylvania; Michael J. Stortz, Akin Gump Strauss Hauer
         & Feld LLP, San Francisco, California; for Defendant-
         Appellant.

         Karla Gilbride (argued), Public Justice P.C., Washington,
         D.C.; Ray Gallo, Gallo LLP, San Francisco, California;
         Hank Bates and David Slade, Carney, Bates & Pulliam
         PLLC, Little Rock, Arkansas; for Plaintiff-Appellee.

         Gary B. Friedman, Los Angeles, California; Professor
         Myriam E. Gilles, Benjamin N. Cardozo School of Law,
         New York, New York; for Amici Curiae Civil Procedure and
         Arbitration Law Professors.

         Roger N. Heller and Ian R. Bensberg, Lieff Cabraser
         Heimann & Bernstein LLP, San Francisco, California, for
         Amici Curiae Consumer Organizations.
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                                   ORDER

            The dissenting opinion of Judge Berzon, previously
         published at 12 F.4th 1108, 1122–26, is replaced by the
         accompanying amended dissent. The majority opinion
         previously published at 12 F.4th 1108 remains unchanged.

             Judges Collins and VanDyke have voted to deny the
         petition for panel rehearing and the petition for rehearing en
         banc (Dkt. No. 58). Judge Berzon has voted to grant the
         petition for panel rehearing and the petition for rehearing en
         banc. The full court has been advised of the petition for
         rehearing en banc, and no judge has requested a vote on
         whether to rehear the matter en banc. See FED. R. APP. P.
         35. The petition for panel rehearing and the petition for
         rehearing en banc, filed October 22, 2021, are DENIED. No
         further petitions for rehearing or rehearing en banc will be
         entertained.



                                  OPINION

         COLLINS, Circuit Judge:

             Comcast Cable Communications, LLC (“Comcast”)
         appeals the district court’s denial of its motion to compel
         arbitration of the claims asserted against it by former cable
         subscriber Brandon Hodges. Hodges brought this putative
         class action challenging certain of Comcast’s privacy and
         data-collection practices and seeking a variety of monetary
         and equitable remedies. The district court held that, because
         Hodges’ complaint sought “public injunctive relief” as one
         of its requested remedies, the complaint implicated the so-
         called “McGill rule,” under which a contractual provision
         that waives the right to seek “public injunctive relief” in all
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         forums is unenforceable. McGill v. Citibank, N.A., 393 P.3d
         85, 87 (Cal. 2007). The parties did not dispute that, if the
         relief Hodges seeks is classified as public injunctive relief,
         the non-severable arbitration provisions of Hodges’
         subscriber agreements with Comcast did seek to waive that
         public injunctive relief in any forum. Accordingly, the
         district court held that those provisions were unenforceable
         under McGill.        We conclude that the district court
         misconstrued what counts as “public injunctive relief” for
         purposes of the McGill rule and that it therefore erred in
         concluding that the complaint here sought such relief.
         Because Hodges’ complaint did not seek such relief, the
         McGill rule is not implicated, and the arbitration agreement
         should have been enforced. We therefore reverse the district
         court’s denial of Comcast’s motion to compel.

                                       I

             Between October 2015 and January 2018, Hodges
         subscribed to Comcast’s cable television services at his
         home in Oakland, California. In February 2018, Hodges
         filed a complaint in California state court on behalf of a
         putative class of California residential Comcast subscribers,
         alleging that Comcast violated class members’ statutory
         privacy rights in collecting “data about subscribers’ cable
         television viewing activity” as well as “personally
         identifiable demographic data about its subscribers.”
         Specifically, Hodges alleged that Comcast violated the
         Cable Communications Policy Act of 1984 (“Cable Act”),
         by (1) failing to clearly inform subscribers of how long
         Comcast would keep such information; (2) failing to provide
         subscribers with access to this information upon request; and
         (3) failing to obtain subscribers’ consent before gathering
         information about viewing activity.          See 47 U.S.C.
         § 551(a)(1)(C), (b), (d). Hodges also alleged that Comcast
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         violated the California Invasion of Privacy Act (“CIPA”), by
         (1) failing to obtain subscribers’ consent before using its
         cable boxes to collect viewing activity; and (2) failing to
         disclose, within 30 days of a subscriber request,
         “individually identifiable subscriber information” Comcast
         had collected. CAL. PEN. CODE § 637.5(a)(1), (d). In
         addition, Hodges asserted that the same five violations of the
         Cable Act and CIPA constituted “unlawful” business
         practices, thereby giving rise to a derivative cause of action
         under California’s unfair competition law (“UCL”), CAL.
         BUS. & PROF. CODE § 17200 et seq. On behalf of himself
         and the putative class, Hodges sought liquated, statutory, and
         punitive damages; seven specified forms of “statewide
         public injunctive relief”; and attorney’s fees.

             Comcast removed the case to the U.S. District Court for
         the Northern District of California based on federal question
         jurisdiction, see 28 U.S.C. § 1331, and diversity jurisdiction
         under the Class Action Fairness Act, id. § 1332(d). Noting
         that each version of Hodges’ various “Subscriber
         Agreements” with Comcast contained an arbitration
         provision, Comcast then moved to compel arbitration.
         Hodges opposed the motion, arguing that the arbitration
         provision was unenforceable under McGill because its non-
         severable “Waiver of Class Actions and Collective Relief”
         impermissibly deprived Hodges of the right to pursue public
         injunctive relief in any forum. 1 In reply, Comcast argued

             1
               For example, the final agreement Hodges received in January
         2018, when he terminated his cable service but continued internet service
         with Comcast, included the following language (which is reproduced
         here without its use of all capitalization):

                  Waiver of Class Actions and Collective Relief.
                  There shall be no right or authority for any claims to
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         that McGill was inapplicable because Hodges was not
         seeking public injunctive relief and that, in any event, the
         McGill rule is preempted by the Federal Arbitration Act
         (“FAA”).

             Because the question of whether McGill was preempted
         by the FAA had already been raised in several cases before
         this court, the district court stayed the case pending our
         resolution of that issue. After we held in Blair v. Rent-A-
         Center, Inc., 928 F.3d 819, 822 (9th Cir. 2019), that the FAA
         did not preempt the McGill rule, the district court denied
         Comcast’s motion to compel arbitration. Comcast filed an
         interlocutory appeal challenging the district court’s ruling,
         and we have jurisdiction pursuant to 9 U.S.C. § 16(a)(1)(B).




                be arbitrated or litigated on a class action, joint or
                consolidated basis or on bases involving claims
                brought in a purported representative capacity on
                behalf of the general public (such as a private attorney
                general), other subscribers, or other persons. The
                arbitrator may award relief only in favor of the
                individual party seeking relief and only to the extent
                necessary to provide relief warranted by that
                individual party’s claim. The arbitrator may not award
                relief for or against anyone who is not a party. The
                arbitrator may not consolidate more than one person’s
                claims, and may not otherwise preside over any form
                of a representative or class proceeding. This waiver of
                class actions and collective relief is an essential part of
                this arbitration provision and cannot be severed from
                it.
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                                       II

            Section 2 of the FAA provides that

                [a] written provision in . . . a contract . . . to
                settle by arbitration a controversy thereafter
                arising out of such contract . . . shall be valid,
                irrevocable, and enforceable, save upon such
                grounds as exist at law or in equity for the
                revocation of any contract.

         9 U.S.C. § 2. The Supreme Court has “described this
         provision as reflecting both a liberal federal policy favoring
         arbitration and the fundamental principle that arbitration is a
         matter of contract.” AT&T Mobility LLC v. Concepcion,
         563 U.S. 333, 339 (2011) (citations omitted). “In line with
         these principles, courts must place arbitration agreements on
         an equal footing with other contracts and enforce them
         according to their terms.” Id. (simplified). The final clause
         of § 2—the “saving clause”—confirms that arbitration
         agreements, like any other contract, can be invalidated on
         generally applicable grounds “for the revocation of any
         contract.” 9 U.S.C. § 2. But arbitration agreements may not
         be invalidated “by defenses that apply only to arbitration or
         that derive their meaning from the fact that an agreement to
         arbitrate is at issue.” Concepcion, 563 U.S. at 339.

               This case involves one such ground for contractual
         invalidation under California law, viz., the so-called “McGill
         rule.” Under that rule, insofar as a contractual provision
         “purports to waive [a party’s] right to request in any forum
         . . . public injunctive relief, it is invalid and unenforceable
         under California law.” McGill, 393 P.3d at 94. We held in
         Blair that “the FAA does not preempt the McGill rule,”
         928 F.3d at 830–31, and we therefore reject Comcast’s
         contrary arguments here. The only remaining question
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         before us, then, is whether Comcast’s enforcement of the
         Subscriber Agreement in this case violates the McGill rule.
         We conclude that, because Hodges’ complaint does not seek
         public injunctive relief, the McGill rule is not implicated and
         that rule therefore does not bar enforcement of the arbitration
         provision.

                                       A

             As an initial matter, Hodges argues that, in addressing
         whether the McGill rule is implicated in this case, it is
         irrelevant whether his complaint “actually includes a claim”
         for public injunctive relief. All that matters, in his view, is
         whether the Subscriber Agreement’s language theoretically
         purports to waive public injunctive relief in any case. This
         argument is foreclosed by McGill itself. In addressing
         whether the contract in that case was unenforceable, the
         California Supreme Court stated that, in “answering this
         question, we first conclude that McGill’s complaint does, in
         fact, appear to seek . . . public injunctive relief.” 393 P.3d
         at 90 (emphasis added). And in Mejia v. DACM Inc.,
         268 Cal. Rptr. 3d 642 (Cal. Ct. App. 2020), the California
         Court of Appeal likewise began its analysis of the
         applicability of the McGill rule by addressing whether the
         operative complaint actually sought public injunctive relief
         in the first place. See id. at 650–53 (holding that the
         complaint did seek such relief and that McGill invalidated
         the arbitration provision).

             The same conclusion follows from our decision in
         Kilgore v. KeyBank, N.A., 718 F.3d 1052 (9th Cir. 2013) (en
         banc). In Kilgore, we held that it was unnecessary to reach
         the particular FAA preemption question presented there
         precisely because the plaintiffs’ requested injunctions in that
         case did not qualify as public injunctive relief. 718 F.3d
         at 1060–61. Kilgore involved the distinct “Broughton-Cruz
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         rule,” id. at 1060, under which “[a]greements to arbitrate
         claims for public injunctive relief” under certain California
         consumer statutes “are not enforceable in California,”
         McGill, 393 P.3d at 90. 2 Under Hodges’ flawed view of
         California law, the mere presence of a requirement to
         arbitrate public injunctive relief in a contract should have
         been enough to invalidate the arbitration provision in
         Kilgore under the Broughton-Cruz rule—meaning that the
         ability to compel arbitration in Kilgore could not depend
         upon whether public injunctive relief was actually being
         requested in that case. But we held exactly the opposite,
         concluding that the particular injunctions being sought by
         the plaintiffs in Kilgore did not involve public injunctive
         relief; that the Broughton-Cruz rule therefore was not
         implicated; that we therefore did not need to decide whether
         that rule was preempted by the FAA; and that arbitration was
         required. Kilgore, 718 F.3d at 1060–61. 3 The California
         Court of Appeal followed the same approach in another case
         addressing the applicability of the Broughton-Cruz rule. See
         Clifford v. Quest Software Inc., 251 Cal. Rptr. 3d 269, 276–
         78 (Cal. Ct. App. 2019) (concluding that the relevant cause
         of action did not seek public injunctive relief and that
         arbitration therefore could be compelled without addressing
         whether the Broughton-Cruz rule was preempted).


             2
               The rule’s name derives from the pair of cases that established it,
         namely, Broughton v. Cigna Healthplans of California, 988 P.2d 67, 76
         (Cal. 1999), and Cruz v. PacifiCare Health Systems, Inc., 66 P.3d 1157,
         1164–65 (Cal. 2003).

             3
               We later held that, given the fact that the Broughton-Cruz rule
         applied only to arbitration agreements, it was not a generally applicable
         ground for invalidating a contract and was therefore preempted by the
         FAA. See Blair, 928 F.3d at 827; Ferguson v. Corinthian Colleges, Inc.,
         733 F.3d 928, 934 (9th Cir. 2013).
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             The applicable precedent thus forecloses Hodges’
         argument that courts should stretch to invalidate contracts
         based on hypothetical issues that are not actually presented
         in the parties’ dispute. We therefore turn to whether
         Hodges’ complaint requests public injunctive relief within
         the meaning of the McGill rule.

                                       B

             We begin by setting forth the standards for what
         constitutes non-waivable public injunctive relief under
         California law. In addressing that question, we “‘are bound
         by decisions of the state’s highest court,’” Alliance for Prop.
         Rights & Fiscal Responsibility v. City of Idaho Falls,
         742 F.3d 1100, 1103 (9th Cir. 2013) (citation omitted), and
         in deciding any unresolved or unclear questions of state law,
         we are guided by the principles that the state high court has
         articulated, id. In construing the substantive scope of
         McGill’s contract-invalidation rule, we also cannot lose sight
         of the critical limitations on that rule that saved it from
         preemption as a matter of federal law in Blair. We review
         all questions of law de novo. United States v. Robertson,
         980 F.3d 672, 675 (9th Cir. 2020).

                                       1

             McGill derived its rule against waiver of public
         injunctive relief from California Civil Code § 3513, which
         provides: “Any one may waive the advantage of a law
         intended solely for his benefit. But a law established for a
         public reason cannot be contravened by a private
         agreement.” See 393 P.3d at 93–94. Because the primary
         consumer protection laws at issue in McGill—i.e., the UCL;
         the Consumers Legal Remedies Act (“CLRA”), CAL. CIV.
         CODE § 1750 et seq.; and California’s false advertising law,
         CAL. BUS. & PROF. CODE § 17500 et seq.—all authorize
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         injunctive relief that is primarily “for the benefit of the
         general public,” Broughton, 988 P.2d at 78 (making this
         point as to the CLRA); see also Cruz, 66 P.3d at 1164–65
         (same as to the UCL and the false advertising law), the
         McGill court held that any waiver of the “right to request in
         any forum such public injunctive relief . . . is invalid and
         unenforceable under California law.” 393 P.3d at 94.

             Consistent with California Civil Code § 3513’s
         distinction between relief for the benefit of private
         individuals and relief for the benefit of the general public as
         a whole, McGill explained that California law

                distinguished between private injunctive
                relief—i.e., relief that primarily resolves a
                private dispute between the parties and
                rectifies individual wrongs and that benefits
                the public, if at all, only incidentally—and
                public injunctive relief—i.e., relief that by
                and large benefits the general public and that
                benefits the plaintiff, if at all, only
                incidentally and/or as a member of the
                general public.

         393 P.3d at 89 (simplified). In further describing the sort of
         “public injunctive relief” that is not subject to waiver under
         California law, the California Supreme Court in McGill
         emphasized three key features.

             First, the Court stated that public injunctive relief “has
         ‘the primary purpose and effect of’ prohibiting unlawful acts
         that threaten future injury to the general public.” McGill,
         393 P.3d at 90 (emphasis added) (citation omitted). Thus, in
         contrast to relief aimed at “redressing or preventing injury”
         to a person or group of persons, id., forward-looking relief
         that generally aims to prevent unlawful conduct in the future
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         is more likely to be characterized as reflecting statutory
         rights that are “established for a public reason.” CAL. CIV.
         CODE § 3513.

             Second, the McGill court emphasized that a request for
         public injunctive relief “does not constitute the pursuit of
         representative claims or relief on behalf of others,” nor does
         it involve “prosecut[ing] actions on behalf of the general
         public.” 393 P.3d at 92–93 (simplified) (emphasis added).
         The court made this observation in the course of explaining
         why Proposition 64’s amendments to the UCL did not
         eliminate the ability of a private plaintiff to seek public
         injunctive relief under that statute. Proposition 64 stated that
         UCL actions on behalf of the general public could be brought
         by “only the California Attorney General and local public
         officials,” Prop. 64, § 1(f), and it further prohibited any
         private representative actions other than class actions, see
         CAL. BUS. & PROF. CODE § 17203. The McGill court held
         that these limitations did not affect the ability of a private
         UCL plaintiff to request public injunctive relief, because
         such relief did not require any such representative action,
         either on behalf of a class or the general public. Rather, as
         the court explained, the requirement that an “‘action be
         brought as a class action’” has “never been imposed with
         regard to requests to enjoin future wrongful business
         practices that will injure the public.” 393 P.3d at 93 (citation
         omitted).

             Third, the court relatedly drew a sharp distinction with
         respect to ascertainability between the beneficiaries of
         private and public injunctive relief. The court explained
         that, in contrast to private injunctive relief, which provides
         benefits “to an individual plaintiff—or to a group of
         individuals similarly situated to the plaintiff,” public
         injunctive relief involves diffuse benefits to the “general
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         public” as a whole, and the general public “‘fails to meet’”
         the class-action requirement of “‘an ascertainable class.’”
         393 P.3d at 90, 93 (emphasis added) (citations omitted).

             It follows that public injunctive relief within the meaning
         of McGill is limited to forward-looking injunctions that seek
         to prevent future violations of law for the benefit of the
         general public as a whole, as opposed to a particular class of
         persons, and that do so without the need to consider the
         individual claims of any non-party. The paradigmatic
         example would be the sort of injunctive relief sought in
         McGill itself, where the plaintiff sought an injunction against
         the use of false advertising to promote a credit protection
         plan. 393 P.3d at 90–91. Such an injunction attempts to stop
         future violations of law that are aimed at the general public,
         and imposing or administering such an injunction does not
         require effectively fashioning individualized relief for non-
         parties. See also Cruz, 66 P.3d at 1159–60 (plaintiff sought
         injunctive relief against PacifiCare’s false advertising in
         “misrepresenting or failing to disclose internal policies that
         lower the quality of services provided”); Broughton, 988
         P.2d at 71 (plaintiff sought “an order enjoining [defendant
         Cigna’s] deceptive methods, acts, and practices,” which
         allegedly included “deceptively and misleadingly
         advertis[ing] the quality of medical services which would be
         provided under its health care plan”).

              By contrast, when the injunctive relief being sought is
         for the benefit of a discrete class of persons, or would require
         consideration of the private rights and obligations of
         individual non-parties, it has been held to be private
         injunctive relief. For example, in Kilgore, the plaintiffs
         alleged that the loans and contracts they had executed to
         attend a since-failed helicopter-pilot school did not contain
         certain disclosures required by Federal Trade Commission
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         regulations. 718 F.3d at 1056 & n.3. As a remedy, the
         plaintiffs sought an injunction under the UCL to prevent the
         defendant bank from reporting their student loan defaults to
         credit agencies and from enforcing the student loan notes.
         Id. Sitting en banc, we held that the plaintiffs were not
         seeking public injunctive relief because the requested
         injunction against enforcing these loans or reporting
         associated loan defaults on credit reports “plainly would
         benefit only the approximately 120 putative class members”
         and not the general public. Id. at 1060–61. We further noted
         that, in contrast to seeking forward-looking relief against
         future unlawful acts aimed at the general public, the
         requested injunction, “for all practical purposes, relates only
         to past harms suffered by the members of the limited
         putative class.” Id. at 1061 (emphasis added).

             Likewise, in Clifford, the California Court of Appeal
         held that even prospective injunctive relief was not “public”
         when the primary beneficiaries were a defined group of
         similarly situated persons, rather than the general public.
         There, the plaintiff alleged a variety of wage and hour claims
         arising from his employer’s alleged misclassification of him
         as an “exempt employee.” 251 Cal. Rptr. 3d at 273.
         Although the plaintiff sought an injunction to prevent his
         employer from committing further similar violations of law
         in the future, the court held that this did not constitute a
         request for public injunctive relief. The only “potential
         beneficiaries” of the requested forward-looking relief were
         “Quest’s current employees, not the public at large.” Id.
         at 277 (emphasis added). In reaching this conclusion, the
         court emphasized McGill’s statement that, in order to qualify
         as public injunctive relief, the requested injunction must go
         beyond “‘redressing or preventing injury to an individual
         plaintiff—or to a group of individuals similarly situated to
         the plaintiff.’” Id. at 278 (quoting McGill, 393 P.3d at 90)
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         (emphasis added by Clifford); see also Torrecillas v. Fitness
         Int’l, LLC, 266 Cal. Rptr. 3d 181, 191 (Cal. Ct. App. 2020)
         (requested relief was not public injunctive relief because the
         “beneficiary of an injunction would be Torrecillas and
         possibly Fitness’s current employees, not the public at
         large”).

             We emphasized these same key features of public
         injunctive relief when we held in Blair that the McGill rule
         was not preempted by the FAA. Thus, in holding that public
         injunctive relief did not entail a level of procedural formality
         or complexity that would be inconsistent with arbitration’s
         goal of streamlined proceedings, we expressly relied on
         McGill’s holdings that (1) a “plaintiff requesting a public
         injunction files the lawsuit ‘on his or her own behalf,’” and
         not in any sort of representative capacity; (2) as a result,
         “claims for public injunctive relief need not comply with
         state-law class procedures”; and (3) the beneficiaries of
         public injunctive relief are “the general public” as a whole
         and not “specific absent parties.” Blair, 928 F.3d at 828–29.
         In light of these crucial features of the McGill rule, we held
         that a request for public injunctive relief “does not interfere
         with the bilateral nature of a typical consumer arbitration.”
         Id. at 829; see also Stolt-Nielsen S.A. v. AnimalFeeds Int’l
         Corp., 559 U.S. 662, 685 (2010) (“In bilateral arbitration,
         parties forego the procedural rigor . . . in order to realize the
         benefits of private dispute resolution: lower costs, greater
         efficiency and speed, and the ability to choose expert
         adjudicators to resolve specialized disputes.”). Moreover, in
         explaining why the relief sought in Blair included public
         injunctive relief, we noted that it sought to stop Rent-A-
         Center from using an unlawful pricing structure, 928 F.3d
         at 822–23, thereby enjoining “future violations” of
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         California law in a manner that diffusely benefitted the
         general public as a whole, id. at 831 n.3. 4

             Given the loadbearing weight we placed on these aspects
         of McGill in Blair, we think it is clear that any broader
         conception of public injunctive relief, beyond what we have
         set forth above, would have required a different conclusion
         as to the preemption issue. If California’s McGill rule had
         sought to preserve, as non-waivable, the right to formally
         represent the claims of others, to seek retrospective relief for
         a particular class of persons, or to request relief that requires
         consideration of the individualized claims of non-parties,
         then such a rule would plainly “interfere with the informal,
         bilateral nature of traditional consumer arbitration.” Blair,
         928 F.3d at 830; see also Epic Sys. Corp. v. Lewis, 138 S. Ct.
         1612, 1623 (2018) (state-law rule that a contract is
         unenforceable “just because it requires bilateral arbitration”
         is preempted because it “impermissibly disfavors
         arbitration” (emphasis omitted)).

                                              2

            In arguing for a broader reading of McGill, Hodges relies
         on the recent decision of Division Three of the Fourth


              4
                Notably, in reaching that conclusion in Blair, we did not rely on
         the other forms of injunctive relief that the plaintiff requested in that
         case, namely, an order requiring Rent-A-Center to perform a retroactive
         “accounting of monies obtained from California consumers” and to
         provide “individualized notice to those consumers of their statutory
         rights.” 928 F.3d at 823. In contrast to the public injunctive relief
         described in McGill, these other forms of requested relief in Blair were
         retrospective, aimed at a specific class of persons (i.e., those who already
         had Rent-A-Center contracts), or would require individualized
         consideration of the private rights and obligations of particular non-
         parties.
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         District Court of Appeal in Mejia, 268 Cal. Rptr. 3d 642, in
         which the court substantially broadened the McGill rule by
         effectively defining as “public injunctive relief” any
         forward-looking injunction that restrains any unlawful
         conduct. Hodges also notes that Mejia’s analysis was
         reaffirmed in another recent decision issued by the same
         division of the same district in Maldonado v. Fast Auto
         Loans, Inc., 275 Cal. Rptr. 3d 82 (Cal. Ct. App. 2021). For
         two reasons, Hodges’ reliance on these cases is unavailing.

                                        a

             First, Mejia’s expanded version of the McGill rule rests
         on such a patent misreading of California law that we do not
         think it would be followed by the California Supreme Court.
         See Ryman v. Sears, Roebuck & Co., 505 F.3d 993, 995 (9th
         Cir. 2007) (panel is not required to follow intermediate state
         appellate authority where there is convincing evidence that
         the state supreme court would decide differently).

             In particular, Mejia improperly disregards the key
         features of public injunctive relief set forth by the state high
         court in McGill. The alleged violation in Mejia involved the
         defendant motorcycle seller’s failure to provide purchasers
         “with a single document setting forth all the financing terms”
         for the sale, see Mejia, 268 Cal. Rptr. 3d at 644, and the
         plaintiff requested an injunction against any sale that did not
         provide the requisite information in a single document, id.
         at 645. By its terms, this relief would primarily benefit the
         class of persons who actually purchased motorcycles, and
         not the general public as a whole. See McGill, 393 P.3d at
         90 (relief whose “primary purpose or effect” is “preventing
         injury . . . to a group of individuals similarly situated to the
         plaintiff . . . does not constitute public injunctive relief”).
         Moreover, implementing such a decree could require the
         examination of the paperwork of each individual sale to
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         determine whether the particular financing terms and other
         requisite disclosures for that given sale were all included in
         a single document. See id. at 93 (public injunctive relief
         “does not constitute the pursuit of representative claims or
         relief on behalf of others” (simplified)). As we have
         explained, these are precisely the sorts of features that have
         led to a finding of private injunctive relief. See supra at 15–
         16.

             The Mejia court nonetheless held that the relief requested
         was public. 268 Cal. Rptr. 3d at 651. It did so in a brief
         discussion that (1) declared, without analysis, that the
         complaint’s requested injunctive relief concerning the sales
         documents of future motorcycle purchasers “encompasse[d]
         ‘consumers’ generally” and (2) then announced that such
         relief was therefore “‘injunctive relief that has the primary
         purpose and effect of prohibiting unlawful acts that threaten
         future injury to the general public.’” Id. (quoting McGill,
         393 P.3d at 87). This truncated analysis effectively shears
         off the limiting elements that were recited in McGill and that
         we found critical to avoiding preemption in Blair. It instead
         rests on the implicit premise that any forward-looking relief
         to enjoin any illegal conduct is automatically public
         injunctive relief that benefits the general public as a whole.
         Id. This is a clear misreading of McGill, Broughton, and
         Cruz. See supra at 12–15.

             To the extent that Maldonado follows and applies
         Mejia’s flawed analysis, it is equally mistaken. The
         plaintiffs in Maldonado sought injunctive relief, inter alia,
         that would prevent the defendant lender from charging
         unconscionably excessive interest rates on loans and that
         would require the lender to undertake “corrective
         advertising” and to maintain the requisite California lender
         licenses. 275 Cal. Rptr. 3d at 85–86. To be sure, some of
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         the relief requested in Maldonado—such as an injunction to
         maintain the appropriate lender licenses and to undertake a
         corrective advertising campaign—would appear to meet
         McGill’s more circumscribed articulation of what counts as
         non-waivable public injunctive relief. But Maldonado went
         further and, relying on Mejia, held that an injunction aimed
         at preventing “unconscionable” loan agreements with
         excessive interest rates was public injunctive relief. Id.
         at 90. For multiple reasons, that conclusion was plainly
         incorrect.

             Maldonado’s conclusion that an injunction against
         unconscionable loan agreements “encompasses all
         consumers and members of the public,” rather than just a
         discrete class of persons who are similarly situated to the
         plaintiffs, 275 Cal. Rptr. 3d at 90, is clearly wrong. By its
         terms, that requested relief only benefits those who actually
         sign lending agreements, and not the public more generally.
         The court was likewise incorrect in suggesting that such an
         injunction would not benefit the plaintiffs themselves
         “because they have already been harmed and are already
         aware of the misconduct.” Id. That might be true as to the
         other forms of relief requested (such as corrective
         advertising), but the plaintiffs and the class members would
         plainly benefit from an injunction barring unconscionable
         loan agreements, thereby underscoring that that relief is
         private injunctive relief. The court was also wrong in
         suggesting that, simply because an injunction against
         unconscionable loan agreements with excessive interest
         rates would also extend to future borrowers, the relief was
         necessarily non-waivable public injunctive relief. Id. at 91.
         As McGill makes clear, an incidental public benefit from
         what is otherwise class-wide private injunctive relief is not
         sufficient to establish that the requested injunction is actually
         public relief. 393 P.3d at 89. Furthermore, determining
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         whether any particular future loan agreement was
         unconscionable due to its interest rate would require an
         individualized inquiry that considers whether, “under the
         circumstances of the case, taking into account the bargaining
         process and prevailing market conditions—a particular rate
         was ‘overly harsh,’ ‘unduly oppressive,’ or ‘so one-sided as
         to shock the conscience.’” De La Torre v. CashCall, Inc.,
         422 P.3d 1004, 1015 (Cal. 2018) (citations omitted). For all
         of these reasons, Maldonado plainly erred in holding that
         any injunction aimed at prohibiting the defendant “‘from
         continuing to engage in its allegedly illegal and deceptive
         practices’” is public injunctive relief. 275 Cal. Rptr. 3d at
         91 (citation omitted).

             The dissent’s effort to defend Mejia and Maldonado is
         both unpersuasive and inconsistent with other precedent.
         While conceding that the requested injunctive relief in both
         cases would primarily benefit only those who entered into
         contracts with the defendants, the dissent argues that there is
         nonetheless a benefit to the general public in the sense that
         persons considering entering into such contracts would also
         be protected. See Dissent at 32–33. But as McGill
         explained, whether a requested injunction is public or private
         depends upon who are the primary beneficiaries, and the
         existence of an incidental benefit to the general public is not
         enough to classify that relief as non-waivable public
         injunctive relief. 393 P.3d at 89. Moreover, as the dissent
         acknowledges, other courts—including this court—have
         already recognized that injunctive relief aimed at regulating
         the substantive terms of contractual arrangements is private
         injunctive relief that primarily benefits those who enter into
         such contracts. See Capriole v. Uber Techs., Inc., 7 F.4th
         854, 2021 WL 3282092, at *13 (9th Cir. 2021) (relief
         regulating Uber drivers’ relationship with Uber is primarily
         directed at those who become Uber drivers and “only
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         ‘benefit[s] the general public incidentally’” (quoting Blair,
         928 F.3d at 824)); Clifford, 251 Cal. Rptr. 3d at 277
         (requested injunctive relief concerning wages and hours
         would primarily benefit defendant Quest Software’s
         “current employees” rather than “the public at large”). The
         dissent seeks to distinguish these cases on the ground that it
         is more cumbersome to become an employee of Quest
         Software or an Uber driver, see Dissent at 36, but that
         distinction has nothing at all to do with what McGill says is
         the relevant inquiry, namely, who are the primary
         beneficiaries of the requested injunctive relief.

             The dissent is also wrong in contending that our rejection
         of Mejia and Maldonado is actually based on the “implicit
         premise” that the only type of injunction that counts as
         public injunctive relief is one directed against false
         advertising. See Dissent at 34. That strawman argument is
         belied by the substantive analysis set forth earlier, which
         merely describes such an injunction as illustrative of public
         injunctive relief, just as McGill itself did. See 393 P.3d
         at 89–90 (noting that Broughton and Cruz, which involved
         injunctions against false advertising, were paradigmatic
         examples of public injunctive relief). And it is further belied
         by our acknowledgment that, for example, the request for an
         injunction that the defendant in Maldonado obtain and
         maintain the required lender licenses qualifies as public
         injunctive relief. See supra at 20–21.

                                       b

             Second, even if we are wrong in concluding that the
         California Supreme Court would not follow Mejia’s and
         Maldonado’s broader reading of the McGill rule, Hodges’
         argument would still fail for the independent and alternative
         reason that their expansion of the McGill rule is preempted
         by the FAA.
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             As we have explained, the broader Mejia-Maldonado
         rule—namely, that any injunction against future illegal
         conduct constitutes non-waivable public injunctive relief—
         ignores the key features of the McGill rule that saved it from
         preemption under the FAA in Blair. In upholding the McGill
         rule, we emphasized that the category of public injunctive
         relief described in McGill did not involve the sort of
         procedural complexity or formality that would be
         inconsistent with the FAA’s objective of “‘facilitat[ing]
         streamlined proceedings’” in arbitration. 928 F.3d at 828
         (quoting Concepcion, 563 U.S. at 344). We reached that
         conclusion because, as described in McGill, public
         injunctive relief does not entail acting in a representative
         capacity, does not require class-action procedures, and does
         not primarily benefit “specific absent parties.” Id. at 928–
         29; see supra at 17.

              The same cannot be said of the broader version of the
         McGill rule embraced in Mejia and Maldonado. Because it
         disregards all of the limitations on public injunctive relief
         that were emphasized in McGill and Blair, the broader
         Mejia-Maldonado rule forbids waiving claims for
         prospective injunctive relief against unlawful conduct even
         if, for example, the implementation of such an injunction
         would require evaluation of the individual claims of
         numerous non-parties.        The point is illustrated by
         considering the particular types of injunctive relief sought in
         Mejia and Maldonado themselves—namely, injunctions
         regulating the drafting and substantive terms of actual
         contracts with innumerable different persons. See supra
         at 19– 23. Implementing such relief would require a level of
         procedural complexity that is inherently incompatible “with
         the informal, bilateral nature of traditional consumer
         arbitration,” Blair, 928 F.3d at 830, and with the “efficient,
         streamlined procedures” that the FAA seeks to protect.
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         Concepcion, 563 U.S. at 344; cf. Broughton, 988 P.2d at 77
         (noting that, “[i]n some cases, the continuing supervision of
         an injunction is a matter of considerable complexity” that
         involves “quasi-executive functions of public administration
         that expand far beyond the resolution of private disputes”). 5

             The dissent wrongly discounts the fact that the Mejia-
         Maldonado rule precludes waiver of forward-looking
         injunctive relief, even if its implementation would involve
         administrative complexity that is inconsistent with bilateral
         arbitration. According to the dissent, this concern is
         irrelevant, because an adjudicator would not need to
         “examine the claims” of individuals “before entering an
         order like that.” See Dissent at 38 (emphasis added). But
         injunctions are not simply words on a page, and their
         compatibility with bilateral arbitration must be evaluated in
         light of how they would actually be implemented, as the
         California Supreme Court itself recognized in Broughton.
         988 P.2d at 77.

             By insisting that contracting parties may not waive a
         form of relief that is fundamentally incompatible with the
         sort of simplified procedures the FAA protects, the Mejia-
         Maldonado rule effectively bans parties from agreeing to
         arbitrate all of their disputes arising from such contracts. To

             5
               It is worth recalling that, when Broughton and Cruz initially set out
         to define a category of public injunctive relief, they did so in the course
         of formulating a rule that sought to identify forms of relief that were so
         fundamentally inconsistent with arbitration that California law did not
         permit “this type of injunctive relief to be arbitrated.” Broughton,
         988 P.2d at 76. Such an explicitly anti-arbitration rule is, of course,
         preempted by the FAA, see Ferguson, 733 F.3d at 934, and in McGill,
         the California Supreme Court expressly pivoted away from the
         “Broughton-Cruz rule” and instead sought to define the specific class of
         public injunctive relief that could never be waived. 393 P.3d at 90.
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         say that such a rule is not preempted would flout Supreme
         Court authority. See, e.g., Epic Sys., 138 S. Ct. at 1623
         (holding that, under Concepcion, “courts may not allow a
         contract defense to reshape traditional individualized
         arbitration” and “a rule seeking to declare individualized
         arbitration proceedings off limits” is preempted by the
         FAA). And that we cannot do.

                                       C

             Accordingly, we reaffirm that non-waivable “public
         injunctive relief” within the meaning of the McGill rule
         refers to prospective injunctive relief that aims to restrain
         future violations of law for the benefit of the general public
         as a whole, rather than a discrete subset of similarly situated
         persons, and that does so without requiring consideration of
         the individual claims of non-parties. See supra at 15–16.
         With these principles in mind, we address whether Hodges’
         complaint seeks such relief. Although the complaint labels
         the requested relief as “public,” we must look beyond such
         conclusory assertions and assess for ourselves whether,
         under the applicable standards, the relief requested
         implicates the McGill rule. We conclude that it does not.

             The complaint seeks injunctive relief requiring Comcast
         to take the following actions with respect to those persons
         who are “cable subscribers” of Comcast (all emphasis
         added):

                (1) “clearly and conspicuously notify cable
                    subscribers in writing, at the requisite
                    times, of the period during which it
                    maintains their [personally identifiable
                    information (“PII”)], including video
                    activity data and demographic data”;
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                (2) “stop using its cable system to collect
                    cable subscribers’ personally identifiable
                    video activity data for advertising
                    purposes without their prior written or
                    electronic consent”;

                (3) “destroy all personally identifiable video
                    activity data collected from cable
                    subscribers for advertising purposes
                    without prior written or electronic
                    consent and any information derived in
                    whole or part from such data”;

                (4) “change its procedures to provide cable
                    subscribers who request access to their
                    PII with access to all such PII in
                    Comcast’s possession, including video
                    activity data and demographic data”;

                (5) “stop using its cable system to record,
                    transmit, or observe video activity data
                    about cable subscribers without their
                    express written consent”;

                (6) “destroy all video activity data collected
                    from    cable     subscribers     through
                    Comcast’s cable system without their
                    express written consent”;

                (7) “provide cable subscribers who request
                    access to their individually identifiable
                    subscriber information with access to all
                    such information gathered by Comcast
                    within 30 days, including video activity
                    data.”
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             At least some (but not all) of these requested forms of
         relief seek forward-looking prohibitions against future
         violations of law. But as we have explained, that alone is
         not enough to classify the remedy as public injunctive relief
         within the meaning of the McGill rule. And unlike the public
         injunctive relief sought in McGill, Broughton, and Cruz,
         these requests on their face stand to benefit only Comcast
         “cable subscribers”—i.e., by definition they will only benefit
         a “group of individuals similarly situated to the plaintiff.”
         McGill, 393 P.3d at 90; see also Capriole, 7 F.4th at 854,
         2021 WL 3282092, at *13; Clifford, 251 Cal. Rptr. 3d at 278.
         There is simply no sense in which this relief could be said to
         primarily benefit the general public as a more diffuse whole.
         See McGill 393 P.3d at 89–90 (relief that incidentally
         benefits the public does not suffice to convert private relief
         to public relief).

             Moreover, it is apparent that administering any
         injunctive relief of the sort sought here would entail the
         consideration of the individualized claims of numerous cable
         subscribers. The relief sought here is not the equivalent of a
         simple prohibition on running a false advertisement or a
         mandatory injunction to obtain certain licenses or to make
         additional public disclosures in advertising. On the contrary,
         each form of relief would require either consideration of
         which particular consents each subscriber has or has not
         given or examination of which individualized disclosures
         have or have not been made. Administering an injunction of
         this sort, on this scale, is patently incompatible with the
         procedural simplicity envisioned by bilateral arbitration.
         Stolt-Nielsen, 559 U.S. at 685–86; Concepcion, 563 U.S.
         at 348–49. We do not construe California’s McGill rule as
         purporting to insist that the right to seek that sort of relief is
         non-waivable. But to the extent that the McGill rule did so,
         it would be a much different rule from the one we confronted
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         in Blair, and this broader version of the rule is preempted by
         the FAA.

                                      III

            We reverse the district court’s denial of Comcast’s
         motion to compel arbitration, and we remand to the district
         court with instructions to grant that motion.

            REVERSED AND REMANDED.



         BERZON, Circuit Judge, dissenting:

             The majority concludes, contrary to our precedent and to
         recent decisions of the California Court of Appeal, that a
         forward-looking injunction protecting the privacy rights of
         millions of cable consumers is not “public injunctive relief”
         under California state law. I disagree.

             This case is indistinguishable from our decision in Blair
         v. Rent-A-Center, Inc., 928 F.3d 819 (9th Cir. 2019), and the
         California Court of Appeal’s recent decisions in Mejia v.
         DACM Inc., 54 Cal. App. 5th 691 (2020), and Maldonado v.
         Fast Auto Loans, Inc., 60 Cal. App. 5th 710 (2021), all of
         which held that an injunction affecting the contract terms a
         business could offer to members of the public qualified as
         public injunctive relief. Here, too, Hodges requests an
         injunction that would require Comcast to provide a
         statutorily mandated notice at the time an agreement is
         entered—that is, when a member of the general public is
         deciding whether to become a Comcast subscriber. Just as in
         Blair, Mejia, and Maldonado, the relief sought here “has the
         primary purpose and effect of prohibiting unlawful acts that
         threaten future injury to the general public” and is therefore
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         public injunctive relief. McGill v. Citibank, N.A., 2 Cal. 5th
         945, 951 (2017).

             In Blair, the plaintiffs “entered into rent-to-own
         agreements” with Rent-A-Center, which “operates stores
         that rent household items to consumers for set installment
         payments.” Blair, 928 F.3d at 822. The plaintiffs “alleged
         that Rent-A-Center structured its rent-to-own pricing in
         violation of [California] law.” Id. In particular, the plaintiffs
         alleged violations of a statute that sets maximum prices that
         businesses may charge for rent-to-own items, in proportion
         to the items’ actual cost. Id. at 823. Plaintiffs sought “to
         enjoin future violations of these laws.” Id.

             Obviously, the injunction requested in Blair would not
         directly benefit every member of the general public. It would
         benefit those members of the public who contemplate
         entering into rent-to-own agreements with Rent-A-Center or
         do enter into such agreements, by ensuring that they are
         offered terms compliant with California law. We concluded
         in Blair that the plaintiffs sought public injunctive relief. Id.
         at 831 n.3. We reasoned that “Blair seeks to enjoin future
         violations of California’s consumer protection statutes, relief
         oriented to and for the benefit of the general public.” Id.

             Similarly, in Mejia, the plaintiff bought a used
         motorcycle from a dealership, Del Amo, and financed the
         purchase using a credit card he obtained through the
         dealership. Mejia, 54 Cal. App. 5th at 694. He alleged that
         the dealership had violated a state law requiring it “to
         provide its customers with a single document setting forth all
         the financing terms for motor vehicle purchases made with a
         conditional sale contract.” Id. at 695. The plaintiff sought
         “an injunction prohibiting Del Amo from selling motor
         vehicles ‘without first providing the consumer with a single
         document containing all of the agreements of Del Amo and
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         the consumer with respect to the total cost and the terms of
         payment for the motor vehicle.’” Id. at 695–96.

             Del Amo maintained that the injunction requested was
         “private” because it would “benefit only a ‘narrow group of
         Del Amo customers’—the class of similarly situated
         individuals who, like Mejia, would buy a motorcycle from
         Del Amo with a conditional sale contract.” Id. at 702. The
         California Court of Appeal rejected that argument, reasoning
         that the injunction sought would force “Del Amo to cease
         ‘selling motor vehicles in the state of California without first
         providing the consumer with all [mandated] disclosures . . .
         in a single document.’” Id. at 703. In other words, the relief
         would not be limited to “class members or some other small
         group of individuals” but would benefit any member of the
         general public who in the future considers buying a
         motorcycle from Del Amo. Id.

             Finally, in Maldonado, the defendant lender, Fast Auto
         Loans, “offered loans to California consumers . . . in
         immediate need of cash . . . [who] have limited credit
         opportunities.” Maldonado, 60 Cal. App. 5th at 713
         (alteration omitted). The plaintiffs alleged that the lender
         “charged unconscionable interest rates” on the loans in
         violation of California law. Id. The plaintiffs requested an
         injunction requiring the lender, among other things, to
         “cease charging an unlawful interest rate on its loans
         exceeding $2,500.” Id. at 715.

             Analyzing whether the plaintiffs sought public
         injunctive relief, the California Court of Appeal began by
         rejecting the lender’s argument that McGill “only applies to
         plaintiffs seeking to enjoin false or misleading advertising
         on behalf of the general public.” Id. at 721 (emphasis
         omitted). The court reasoned that “California’s consumer
         protection laws must be liberally, not narrowly, applied.” Id.
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         (citing McGill, 2 Cal. 5th at 954). California’s Unfair
         Competition Law, Cal. Bus. & Prof. Code § 17200 et seq.
         (“UCL”), protects consumers from any “unfair” business
         practice, not just deceptive advertising. McGill, 2 Cal. 5th
         at 954. The “primary form of relief available under the UCL
         to protect consumers from unfair business practices is an
         injunction.” Id. (citation omitted). The Court of Appeal
         observed that “no case” had limited the “remedy of public
         injunctions” under the UCL “to false advertising claims.”
         Maldonado, 60 Cal. App. 5th at 721.

             The Court of Appeal also rejected the lender’s argument
         that the injunction sought was “private” relief because it
         would benefit only the lender’s customers and not the
         general public. The court reasoned,

                 The requested injunction cannot be deemed
                 private simply because Lender could not
                 possibly . . . enter into agreements with[]
                 every person in California. Such a holding
                 would allow Lender to continue violating the
                 UCL and [Consumers Legal Remedies Act,
                 Cal. Civ. Code § 1750 et seq.] because
                 consumers harmed by the unlawful practices
                 would be unable to act as a private attorney
                 general and seek redress on behalf of the
                 public. It is enough that the requested relief
                 has the purpose and effect of protecting the
                 public from Lender’s ongoing harm.

         Id. at 722.

             The injunction sought by Hodges includes relief that is
         indistinguishable from the relief that we and the California
         Court of Appeal deemed public injunctive relief in Blair,
         Mejia, and Maldonado. Hodges seeks an injunction
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         requiring Comcast to “clearly and conspicuously notify
         cable subscribers in writing, at the requisite times, of the
         period during which it maintains their [personally
         identifiable information (“PII”)], including video activity
         data and demographic data (under the Cable Act and UCL).”
         See Majority op. 26. The Cable Act supplies the requisite
         times: “[a]t the time of entering into an agreement to
         provide any cable service or other service to a subscriber
         and at least once a year thereafter.” 47 U.S.C. § 551(a)(1)
         (emphasis added). In other words, as Comcast’s lawyer
         stated at oral argument, the disclosure requested by Hodges
         “is a term of the contract for contracting parties.” Thus, the
         injunction would benefit not just existing Comcast
         subscribers but any member of the public who considers
         entering into, or does enter into, an agreement with
         Comcast—just as the injunctions in the cases discussed
         above would protect members of the public who consider
         contracting with or do contract with Rent-A-Center, Del
         Amo, and Fast Auto Loans in the future. In all four cases,
         the requested injunction would benefit the general public by
         preventing the defendant business from contracting or
         proposing to contract with any member of the public—not
         just current customers—on unfair terms.

             The majority acknowledges our binding holding in Blair
         that an injunction preventing “Rent-A-Center from using an
         unlawful pricing structure” was public injunctive relief, but
         it fails to compare that relief with the relief sought here.
         Majority op. 17. As for Mejia and Maldonado, the majority
         suggests those cases were wrongly decided because the relief
         requested “would primarily benefit the class of persons who
         actually purchased motorcycles” (in Mejia) or “who actually
         sign lending agreements” (in Maldonado), “and not the
         general public as a whole.” Majority op. 19, 21. That
         characterization is inaccurate. As here, the requirement in
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         Mejia and Maldonado applied before the transaction was
         consummated, and so applied with respect to both potential
         customers and actual customers. And the majority does not
         explain why an injunction that benefits potential and actual
         purchasers of motorcycles (or potential and actual
         borrowers) when they are considering whether to enter into
         a transaction does not benefit the general public; it simply
         asserts that conclusion. Likewise, the majority concludes
         with little analysis that the relief sought by Hodges regarding
         the privacy notice is private because it would benefit only
         Comcast subscribers, not “the general public as a more
         diffuse whole.” Majority op. 28. But, again, the notice
         requirement applies at the point of sale and periodically
         thereafter and appears intended to protect the right of any
         potential customer—who could be anyone in California, as
         there are no selective criteria—to choose not to subscribe if
         the privacy term is not acceptable.

             The implicit premise underlying the majority’s
         reasoning is that the concept of public injunctive relief is
         confined to what the majority calls its “paradigmatic
         example”: “an injunction against the use of false
         advertising.” Majority op. 15. This premise rests on a fiction:
         Advertisements reach the public as a “diffuse whole,” so an
         injunction barring false advertising benefits the whole,
         diffuse public. And conversely, this same reasoning goes, an
         injunction regulating the terms a business may offer
         consumers in a contract is private because it only benefits
         those consumers who actually enter into, or are considering
         entering into, a contract.

             The notion that advertising reaches every member of the
         whole, diffuse public was never true, and it is even less true
         in today’s world of highly targeted advertising, in which a
         great many ads are intended for a very specific audience.
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         Furthermore, an injunction preventing a business from
         publishing a false advertisement does not even directly
         benefit every person who would have seen the
         advertisement. It benefits only those consumers who would
         have been taken in by it—in other words, the potential
         buyers of the misleadingly advertised product. Yet, under the
         majority’s logic, an injunction preventing a motorcycle
         dealership from posting a deceptive advertisement on its
         premises would be public injunctive relief, while an
         injunction preventing the same dealership from including an
         unlawful term in its proposed sale contracts would be purely
         private relief. That result is nonsensical. In each case, the
         direct beneficiaries of the injunction are a relatively specific
         group: consumers interested in buying motorcycles. Yet
         both injunctions benefit the general public because any
         member of the general public may at some time in the future
         become interested in purchasing a motorcycle and so be
         misled by a deceptive advertisement or by an unlawful term
         in a proposed contract when considering buying a
         motorcycle. In either context, an injunction could prevent the
         dealership from treating unfairly these members of the
         public newly considering buying a motorcycle.

             Likewise, here, any member of the general public may
         decide to sign up with Comcast or may read the terms offered
         before deciding whether to sign up. As far as appears,
         Comcast offers its services to the public at large, the only
         criteria for admission into the “customer” group being
         willingness to sign an agreement for services and pay the
         requisite service rates. And Comcast in fact reaches a large
         number of cable consumers in California: the record shows
         that as of 2014, Comcast reportedly had 2.2 million
         subscribers in the state, or 40 percent of the state cable
         market. Undoubtedly, a great many members of the general
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         public will in the future consider contracting with, and will
         contract with, Comcast for cable service.

             In contrast, members of the public could not freely join
         the group of former students in Kilgore v. KeyBank, Nat’l
         Ass’n, 718 F.3d 1052 (9th Cir. 2013) (en banc). The flight
         school no longer operated, and the bank no longer offered
         student loans. Id. at 1056, 1061. Nor could any member of
         the general public choose to become an employee of the
         defendant software company in Clifford v. Quest Software
         Inc., 38 Cal. App. 5th 745 (2019), or a driver for Uber in
         Capriole v. Uber Technologies, Inc., No. 20-16030, 2021
         WL 3282092 (9th Cir. Aug. 2, 2021). Surely not just anyone
         can walk through the doors of Quest Software, announce, “I
         accept your offer of employment,” and start working there.
         And Uber requires its drivers to have one to three years of
         licensed driving experience and to pass a background check,
         among other requirements. See Driver Requirements, Uber,
         https://www.uber.com/us/en/drive/requirements/            (last
         visited Aug. 9, 2021). The relief sought in Kilgore, Clifford,
         and Capriole benefited a circumscribed group of people;
         there was no sense in which the injunctions “prohibit[ed]
         unlawful acts that threaten[ed] future injury to the general
         public.” McGill, 2 Cal. 5th at 955.

             Our court’s job in deciding this question of state law is
         to “apply the law as [we] believe[] the California Supreme
         Court would apply it.” Edgerly v. City & Cty. of San
         Francisco, 713 F.3d 976, 982 (9th Cir. 2013) (citation
         omitted). In my view, it is highly unlikely that the California
         Supreme Court would limit public injunctive relief to the
         false advertising context. At a minimum, in keeping with the
         liberal construction given to California’s consumer
         protection statutes, public injunctive relief must also include
         injunctions affecting the contract terms a business may offer
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         to potential customers. 1 That was the import of our holding
         in Blair, and it is what the California Court of Appeal
         decided in Mejia and Maldonado. “In the absence of a
         controlling California Supreme Court decision, we follow
         decisions of the California Court of Appeal unless there is
         convincing evidence that the California Supreme Court
         would hold otherwise.” Edgerly, 713 F.3d at 982 (internal
         quotation marks and citation omitted). The California
         Supreme Court denied petitions for review in both Mejia and
         Maldonado, and we have no evidence, let alone “convincing
         evidence,” that it would disapprove those cases.

             Besides drawing an arbitrary line between the public
         who views advertisements and the public who signs up for
         cable or buys motorcycles, the majority posits an additional
         reason why the relief sought here and in Mejia and
         Maldonado is private, not public. The majority maintains
         that “administering any injunctive relief of the form sought
         here would entail the consideration of the individualized
         claims of numerous cable subscribers.” Majority op. 28; see
         id. at 23–26. I cannot see why it would. The injunction
         requested by Hodges would simply require Comcast to adopt
         new operating procedures going forward: provide a
         particular notice when a contract is signed, obtain consent
         before using its cable system to collect certain data, and so

             1
                Because at least part of the relief Hodges seeks is public injunctive
         relief, I would affirm the district court’s order denying the motion to
         compel arbitration. See Blair, 928 F.3d at 823, 831 n.3, 832 (affirming
         the denial of a motion to compel arbitration on the basis that some of the
         injunctive relief Blair sought was public injunctive relief). For present
         purposes, I need not and therefore do not address whether the other
         forward-looking injunctive relief that Hodges seeks—which would
         benefit future Comcast subscribers by, for example, requiring Comcast
         to stop collecting certain data without subscribers’ consent—is also
         public injunctive relief. See Majority op. 26–28.
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         on. See Majority op. 26–27 (quoting complaint). No
         adjudicator would have to examine the claims of individual
         cable subscribers before entering an order like that. True, if
         someone were to bring an action to enforce the injunction,
         an adjudicator would need to examine the facts to determine
         whether the injunction had been violated, but that is also true
         in the false advertising context that the majority offers as a
         foil. See Majority op. 28–29. It is true in any enforcement
         action.

             Further, the majority erroneously assumes that the
         arbitrator who awarded such an injunction would be
         responsible for enforcing it. On that assumption, the majority
         maintains that the injunctive relief requested here and in
         Mejia and Maldonado involves “procedural complexity or
         formality that would be inconsistent with the [Federal
         Arbitration Act’s (‘FAA’s’)] objective of ‘facilitating
         streamlined proceedings’ in arbitration,” Majority op. 24
         (quoting Blair, 928 F.3d at 828) (alteration omitted), leading
         to the pronouncement of an “alternative” holding that Mejia
         and Maldonado are preempted by the FAA, id.

             But the majority’s assumption as to the enforcement of
         an arbitrator-issued injunction is wrong. Once an arbitrator
         grants a claim for injunctive relief, the claimant may seek
         judicial confirmation of the award under California Civil
         Code sections 1285–1287.4. The receiving court “shall
         confirm the award as made,” Cal. Civ. Code § 1286, and
         enter “judgment . . . in conformity therewith,” id. § 1287.4.
         The resulting judgment “may be enforced like any other
         judgment of the court in which it is entered,” id., meaning
         that a motion for enforcement may be brought before the
         court, see O’Hare v. Mun. Res. Consultants, 107 Cal. App.
         4th 267, 278 (2003) (explaining that an arbitrator “may
         award permanent injunctive relief,” which is “enforceable
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         only when confirmed as a judgment of the superior court”).
         The FAA likewise provides that a judgment confirming an
         arbitration award “may be enforced as if it had been rendered
         in an action in the court in which it is entered.” 9 U.S.C.
         § 13(c).

             The possibility that a future motion to enforce an
         injunction awarded by an arbitrator might require factfinding
         by a court has no bearing on the complexity of the arbitration
         itself. It “does not interfere with the bilateral nature of a
         typical consumer arbitration” or “require[] a ‘switch from
         bilateral . . . arbitration’ to a multi-party action.” Blair,
         928 F.3d at 829. As the majority’s premise of
         incompatibility between the key features of arbitration and
         the public injunctions permitted by Mejia and Maldonado is
         mistaken, its alternative holding is incorrect.

             The majority has failed to provide a convincing rationale
         for the distinction it draws in this case between relief
         benefiting consumers who contract with businesses and
         relief benefiting consumers who are exposed to
         advertisements. Because the distinction is untenable and I
         believe it would be rejected by the California Supreme
         Court, I dissent. I would affirm the district court’s denial of
         the motion to compel arbitration.
